OJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)
                        Case 1:18-cr-10391-RGS Document 3-3 Filed 09/19/18 Page 1 of 2
Criminal Case Cover Sheet                                                             U.S. District Court - District of Massachusetts

Place of Offense:                            Category No.       II                   Investigating Agency        FBI

City       Norwell                                   Related Case Information:

County         Plymouth                              Superseding Ind./ Inf.                         Case No.
                                                     Same Defendant                            New Defendant
                                                     Magistrate Judge Case Number             18-mj-6273-MPK
                                                     Search Warrant Case Number             18-mj-6272-MPK
                                                     R 20/R 40 from District of

Defendant Information:

Defendant Name           Derek Sheehan                                            Juvenile:              G Yes G
                                                                                                               ✔ No

                         Is this person an attorney and/or a member of any state/federal bar:            G   Yes ✔
                                                                                                                 G No
Alias Name
Address                  (City & State) Norwell, MA
                      1970 SSN (last4#):________
Birth date (Yr only): _____              9992        M
                                                 Sex _____                        W
                                                                           Race: ___________                       USA
                                                                                                     Nationality: ____________________

Defense Counsel if known:                    Richard Sweeney                         Address 225 W. Squantum Street, Ste 100

Bar Number                                                                                     Quincy

U.S. Attorney Information:

AUSA          Anne Paruti                                                 Bar Number if applicable      670356

Interpreter:              G Yes          ✔ No
                                         G                     List language and/or dialect:

Victims:                  GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                          ✔                                                                                      G Yes      ✔ No
                                                                                                                            9

Matter to be SEALED:                     G Yes      G✔    No

          G✔ Warrant Requested                         G Regular Process                        ✔ In Custody
                                                                                                G

Location Status:

Arrest Date

G Already in Federal Custody as of                                                     in                                      .
✔ Already in State Custody at Plymouth County Sheriff
G                                                                        G Serving Sentence             G✔ Awaiting Trial
G On Pretrial Release: Ordered by:                                                       on

Charging Document:                       ✔ Complaint
                                         G                           G Information                   G Indictment
                                                                                                                   3
Total # of Counts:                       G Petty                     G Misdemeanor                   G Felony
                                                                                                     ✔

                                              Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     09/19/2018                              Signature of AUSA:
                        Case 1:18-cr-10391-RGS Document 3-3 Filed 09/19/18 Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                Derek Sheehan

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged         Count Numbers

Set 1     18 U.S.C. § 2251 (a) and (e)               sexual exploitation of children                 1-3


Set 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
